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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                No. 4:11CR00233-01 JLH

JAVIER HERNANDEZ                                                                DEFENDANT

                                           ORDER

       The United States’ motion to dismiss, pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure, is GRANTED.        Document #198.      The superseding indictment dated

December 6, 2011, is dismissed without prejudice as against Javier Hernandez.

       IT IS SO ORDERED this 3rd day of September, 2014.



                                                   __________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
